                              IN THE UNITED
         Case:14-01519-MCF13 Doc#:90        STATES BANKRUPTCY
                                         Filed:05/08/18        COURT
                                                          Entered:05/08/18 08:43:15                                        Desc: Main
                                  FOR THE DISTRICT OF Page
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IN RE:

 LOURDES MILAGROS JIMENEZ CLAUDIO                                                    CASE NO.       14-01519-MCF
                                                                                     CHAPTER 13
    DEBTOR(S)


                              TRUSTEE’S UNFAVORABLE REPORT
                     ON POST CONFIRMATION MODIFIED PLAN DATED 5/7/2018
With respect to the above-referred payment plan with a base of $19,839.00 the Trustee Renders the following
 recommendation:


                FAVORABLE                                                             X UNFAVORABLE
 The liquidation value of the estate is: $357 (PV $414.00)
 1. [X] FEASIBILITY 11 USC § 1325(a)(6):Per amended post-confirmation plan debtor's has arrears for
 $1,269.00.


 2. [ ] INSUFFICIENTLY FUNDED § 1325(b):


 3. [ ] UNFAIR DISCRIMINATION § 1322(b):


 5. [ ] FAILS DISPOSABLE INCOME TEST § 1325(b)(1)(B):


 4. [ ] FAILS LIQUIDATION VALUE TEST § 1325(a)(4):


 6. [ ] DOES NOT PROVIDE FOR SECURED CREDITOR § 1325 (a)(5):


 7. [ ] OTHER:


 NOTICE: This report anticipates Trustee’s position as per 11 USC § 1302(b)(2) a copy of which has been served upon counsel for debtor(s).
   Copies are available to parties in interest at the Trustee ’s Office.

 DATE: 5/8/2018
                                                                                  /s/ Pedro R Medina
 ROBERTO FIGUEROA                                                                 Pedro R Medina
                                                                                  USDC #226614
 COUNSEL FOR DEBTOR(S)
                                                                                 ALEJANDRO OLIVERAS RIVERA
                                                                                 Chapter 13 Trustee
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